Case 19-21560-GLT            Doc 273     Filed 01/23/21 Entered 01/23/21 16:28:20                 Desc Main
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                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE:                                            : Bankruptcy No. 19-21560-GLT
                                                   :
 PIUS STREET ASSOCIATES LP                         : Chapter 7
                                                   :
                             Debtor                :
                                                   :
    Natalie Lutz Cardiello, Trustee                :
                                                   :
           Movant                                  :
                                                   :
      v.                                           :
                                                   :
   United States of America, Internal              :
   Revenue Service; Commonwealth of                :
   Pennsylvania, Department of Revenue;            :
   County of Allegheny; Jordan Tax Service;        :
   City of Pittsburgh; City of Pittsburgh          :
   School District; Angels Arms                    :
   Condominium Association; and                    :
   Mongiovi & Son Fire Protection Services         :
                                                   :
            Respondents                            :



  NOTICE OF VIDEO CONFERENCE HEARING AND RESPONSE DEADLINE REGARDING
          TRUSTEE’S MOTION TO SELL REAL ESTATE FREE AND CLEAR
  OF THIRD PARTY INTERESTS, LIENS, CLAIMS, CHARGES AND/OR ENCUMBRANCES
                        EFFECTIVE OCTOBER 1, 2020

 TO THE RESPONDENT(S):

           You are hereby notified that the Movant seeks an order affecting your rights or property.

          You are further instructed to file with the Clerk and serve upon the undersigned attorney for
 Movant a response to the Motion by no later than February 11, 2021 (i.e., seventeen (17) days after the
 date of service below), in accordance with the Federal Rules of Bankruptcy Procedure, the Local Rules of
 this Court, and the general procedures of the presiding judge as found on the Court’s webpage at
 www.pawb.uscourts.gov. If you fail to timely file and serve a written response, an order granting the
 relief requested in the Motion may be entered and the hearing may not be held. Please refer to the
 calendar posted on the Court’s webpage to verify if a default order was signed or if the hearing will go
 forward as scheduled.

           You should take this Notice and the Motion to a lawyer at once.
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          A video conference hearing will be held on February 18, 2021, at 9:00 AM before Judge
 Gregory L. Taddonio. All parties wishing to appear by video conference must register by submitting a
 video conference registration form via the link published on Judge Taddonio’s website (which can be
 found at http://www.pawb.uscourts.gov/judge-taddonios-video-conference-hearing-information) no later
 than 4 p.m. on the business day prior to a scheduled hearing. All counsel and parties participating by
 video conference shall comply with Judge Taddonio’s Modified Procedures for Remote Participation
 (effective October 1, 2020), (which can be found at http://www.pawb.uscourts.gov/sites/
 default/files/pdfs/glt-proc-appearances.pdf).

           Only a limited time of ten (10) minutes is being provided on the calendar. No witnesses will be
 heard. If there is an issue of fact, an evidentiary hearing will be scheduled by the Court for a later date.

 Date of Service: January 25, 2021                                 /s/Natalie Lutz Cardiello
                                                                  Attorney for Movant/Applicant
                                                                  107 Huron Drive
                                                                  Carnegie, PA 15106
                                                                   (412) 276-4043
                                                                  Attorney ID #51296
